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The defendant shall participate in an outpatient mental health
treatment program as directed by the probation officer.
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